23-21115-dob   Doc 1   Filed 09/26/23   Entered 09/26/23 09:35:29   Page 1 of 44
23-21115-dob   Doc 1   Filed 09/26/23   Entered 09/26/23 09:35:29   Page 2 of 44
23-21115-dob   Doc 1   Filed 09/26/23   Entered 09/26/23 09:35:29   Page 3 of 44
23-21115-dob   Doc 1   Filed 09/26/23   Entered 09/26/23 09:35:29   Page 4 of 44
23-21115-dob   Doc 1   Filed 09/26/23   Entered 09/26/23 09:35:29   Page 5 of 44
23-21115-dob   Doc 1   Filed 09/26/23   Entered 09/26/23 09:35:29   Page 6 of 44
23-21115-dob   Doc 1   Filed 09/26/23   Entered 09/26/23 09:35:29   Page 7 of 44
23-21115-dob   Doc 1   Filed 09/26/23   Entered 09/26/23 09:35:29   Page 8 of 44
23-21115-dob   Doc 1   Filed 09/26/23   Entered 09/26/23 09:35:29   Page 9 of 44
23-21115-dob   Doc 1   Filed 09/26/23   Entered 09/26/23 09:35:29   Page 10 of 44
23-21115-dob   Doc 1   Filed 09/26/23   Entered 09/26/23 09:35:29   Page 11 of 44
23-21115-dob   Doc 1   Filed 09/26/23   Entered 09/26/23 09:35:29   Page 12 of 44
23-21115-dob   Doc 1   Filed 09/26/23   Entered 09/26/23 09:35:29   Page 13 of 44
23-21115-dob   Doc 1   Filed 09/26/23   Entered 09/26/23 09:35:29   Page 14 of 44
23-21115-dob   Doc 1   Filed 09/26/23   Entered 09/26/23 09:35:29   Page 15 of 44
23-21115-dob   Doc 1   Filed 09/26/23   Entered 09/26/23 09:35:29   Page 16 of 44
23-21115-dob   Doc 1   Filed 09/26/23   Entered 09/26/23 09:35:29   Page 17 of 44
23-21115-dob   Doc 1   Filed 09/26/23   Entered 09/26/23 09:35:29   Page 18 of 44
23-21115-dob   Doc 1   Filed 09/26/23   Entered 09/26/23 09:35:29   Page 19 of 44
23-21115-dob   Doc 1   Filed 09/26/23   Entered 09/26/23 09:35:29   Page 20 of 44
23-21115-dob   Doc 1   Filed 09/26/23   Entered 09/26/23 09:35:29   Page 21 of 44
23-21115-dob   Doc 1   Filed 09/26/23   Entered 09/26/23 09:35:29   Page 22 of 44
23-21115-dob   Doc 1   Filed 09/26/23   Entered 09/26/23 09:35:29   Page 23 of 44
23-21115-dob   Doc 1   Filed 09/26/23   Entered 09/26/23 09:35:29   Page 24 of 44
23-21115-dob   Doc 1   Filed 09/26/23   Entered 09/26/23 09:35:29   Page 25 of 44
23-21115-dob   Doc 1   Filed 09/26/23   Entered 09/26/23 09:35:29   Page 26 of 44
23-21115-dob   Doc 1   Filed 09/26/23   Entered 09/26/23 09:35:29   Page 27 of 44
23-21115-dob   Doc 1   Filed 09/26/23   Entered 09/26/23 09:35:29   Page 28 of 44
23-21115-dob   Doc 1   Filed 09/26/23   Entered 09/26/23 09:35:29   Page 29 of 44
23-21115-dob   Doc 1   Filed 09/26/23   Entered 09/26/23 09:35:29   Page 30 of 44
23-21115-dob   Doc 1   Filed 09/26/23   Entered 09/26/23 09:35:29   Page 31 of 44
23-21115-dob   Doc 1   Filed 09/26/23   Entered 09/26/23 09:35:29   Page 32 of 44
23-21115-dob   Doc 1   Filed 09/26/23   Entered 09/26/23 09:35:29   Page 33 of 44
23-21115-dob   Doc 1   Filed 09/26/23   Entered 09/26/23 09:35:29   Page 34 of 44
23-21115-dob   Doc 1   Filed 09/26/23   Entered 09/26/23 09:35:29   Page 35 of 44
23-21115-dob   Doc 1   Filed 09/26/23   Entered 09/26/23 09:35:29   Page 36 of 44
23-21115-dob   Doc 1   Filed 09/26/23   Entered 09/26/23 09:35:29   Page 37 of 44
23-21115-dob   Doc 1   Filed 09/26/23   Entered 09/26/23 09:35:29   Page 38 of 44
23-21115-dob   Doc 1   Filed 09/26/23   Entered 09/26/23 09:35:29   Page 39 of 44
23-21115-dob   Doc 1   Filed 09/26/23   Entered 09/26/23 09:35:29   Page 40 of 44
23-21115-dob   Doc 1   Filed 09/26/23   Entered 09/26/23 09:35:29   Page 41 of 44
23-21115-dob   Doc 1   Filed 09/26/23   Entered 09/26/23 09:35:29   Page 42 of 44
23-21115-dob   Doc 1   Filed 09/26/23   Entered 09/26/23 09:35:29   Page 43 of 44
23-21115-dob   Doc 1   Filed 09/26/23   Entered 09/26/23 09:35:29   Page 44 of 44
